Filed 07/22/19                                                                 Case 19-21640                                                    Doc 80

     FORM L160 Notice of Filing Trustee's Final Report and Account and of Order Fixing Deadline for Objection Thereto (v.3.15)   19−21640 − B − 11

                     UNITED STATES BANKRUPTCY COURT
                          Eastern District of California
                                Robert T Matsui United States Courthouse
                                        501 I Street, Suite 3−200
                                         Sacramento, CA 95814

                                                    (916) 930−4400
                                                 www.caeb.uscourts.gov
                                                 M−F 9:00 AM − 4:00 PM



                                    NOTICE OF FILING TRUSTEE'S FINAL REPORT AND ACCOUNT
                                    AND OF ORDER FIXING DEADLINE FOR OBJECTING THERETO

     Case Number:               19−21640 − B − 11
     Debtor Name(s) and Address(es):


         Debora Leigh Miller−Zuranich
         9369 Newington Way
         Elk Grove, CA 95758

     OTHER NAMES USED WITHIN 8 YEARS BEFORE FILING THE PETITION:
       Debora Leigh Miller
       Joseph J. Miller Living Trust dated October 8, 2007


     Office of the United States Trustee:
            For cases in the Sacramento Division and Modesto Division: 501 I Street, Room 7−500, Sacramento, CA 95814
            For cases in the Fresno Division: 2500 Tulare Street, Suite 1401, Fresno, CA 93721

          NOTICE IS HEREBY GIVEN THAT the trustee in the above referenced case has filed a Trustee's Final Report and
         Account. The Trustee's Final Report and Account is available for inspection in the Office of the Clerk at the address
         shown above.
         IT IS ORDERED AND YOU ARE FURTHER NOTIFIED THAT any person wishing to object to the Trustee's Final Report
         and Account must file a written objection within 33 days of the date of this Notice. The objection shall state with
         particularity the grounds therefor and shall be accompanied by a notice of hearing with the date and time filled in. Self set
         calendar procedures and available hearing dates are posted under Court Calendars on the Court's web site
         (www.caeb.uscourts.gov).
         The objection, notice of hearing, and any supporting documents shall be served by the objecting party upon the trustee,
         the trustee's attorney, if any, and unless filed by the United States Trustee, on the Office of the United States Trustee on
         or before the date of filing with the Clerk. Proof of service of the objection, notice of hearing and any supporting
         documents shall be filed concurrently with such pleadings, or not more than three days after they are filed.
         If no objections are filed, no hearing will be calendared and the Trustee's Final Report and Account will be approved.



     Dated:                                                                              For the Court,
     7/22/19                                                                             Wayne Blackwelder , Clerk
